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                             UNITED STATES DISTRICT COURT FOR THE
                                 SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division

I
I
                                 Case Number: 10-20210-CIV-MORENO

I    ALFRED0 VILLOLDO, Individually, and
     GUSTAVO E. VILLOLDO, Individually, and as
I    Administrator, Executor and/or Personal
     Representative of the Estate of GUSTAVO
     VILLOLDO ARGILAGOS,

1           Plaintiffs,
     VS.


     THE REPUBLIC OF CUBA, a foreign state, the
     ARMY OF THE REPUBLIC OF CUBA, an
     Agency and Instrumentality of the Republic of
     Cuba, THE MINISTRY OF INTERIOR, an
     Agency and Instrumentality of the Republic of
     Cuba, RAUL CASTRO, as an individual, Agency
     and Instrumentality of the Republic of Cuba, and
     FIDEL CASTRO, as an Individual, Agency and
     Instrumentality of the Republic of Cuba,

            Defendants.
                                                      1

                      ORDER ON MOTION FOR FINAL DEFAULT JUDGMENT

            THIS CAUSE came before the Court upon the Plaintiffs' motion for final default judgment

     (D.E. No. 37).

            THE COURT has considered the motion and the pertinent portions of the record, and is

     otherwise fully advised in the premises. The Plaintiffs correctly note that "[nlo judgment by default

     shall be entered by a court of the United States ... unless the claimant establishes his claim or right

     to relief by evidence satisfactory to the court." 28 U.S.C.   5   1608(e). This includes establishing

     jurisdiction under the Foreign Sovereign Immunities Act ("FSIA").

            The FSIA generally provides that foreign states are immune from suit in state and federal

     courts unless an exception in 28 U.S.C.   $8   1605, 1605A, or 1607 applies. But satisfying a FSIA
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 exception is not simply a precondition for suing or attaching the property of a foreign state; it is a

 precondition for establishing subject matter jurisdiction over an action against a foreign state in the

 first instance. See Verlinden, 461 U.S. at 493-94 ("The [FSIA] must be applied by the District

 Courts in every action against a foreign sovereign, since subject matter jurisdiction in any such action

 depends on the existence of one of the specified exceptions to foreign sovereign immunity.").

         The state court Final Judgment awarding $196.5 million in compensatory damages and $393

 million in punitive damages, signed by Florida Circuit Judge Peter Adrien, was a default judgment

 entered following a non-jury trial. In that Final Judgment, the state judge mentions the terrorism

 exception to the FSIA and finds that the evidence showed that the Defendants caused Alfredo

 Villoldo to take his own life on February 16, 1959 after being detained on January 6, 1959 and

 subsequently brutally beaten during his incarceration of several days.

         The Plaintiffs must present evidence to satisfy this Court that the jurisdictional prerequisites

 under the FSIA have been met. See Underwriters Nat'l Assurance Co. v. North Carolina Life and

 Accident and Health Ins. Guaranty Ass'n, 455 U.S. 691,705 (1982) ("[Blefore a court is bound by

 the judgment rendered in another State, it may inquire into the jurisdictional basis of the foreign

 court's decree."). Because the FSIA is the exclusive source of subject matter jurisdiction over all

 civil actions against foreign states or their agencies or instrumentalities, it is

        ADJUDGED that, on or before August 12,2010, the Plaintiffs shall submit a memorandum

 of law addressing this Court's jurisdiction under the FSIA. The memorandum shall identify the

 specific FSIA exception that applies and explain how the facts of this case support jurisdiction under

 the exception. The memorandum shall also identify and describe any evidence presented in the state

 court proceedings to support jurisdiction under the FSIA. If evidence was presented by way of

 witness testimony, the Plaintiffs shall submit the transcripts reflecting the testimony heard by Judge

 Adrien. The Plaintiffs' failure to comply will result in this action being dismissed without prejudice.
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        The Court also notifies the United States Attorney, in the event that the United States has any

 right to intervene in this action involving a Final Judgment against a foreign state and its leaders.

        DONE AND ORDERED in Chambers at Miami, Florida, this




                                                       UNITED STATES DISTRICT JUDGE


 Copies provided to:

 Counsel of Record

 Wifredo Ferrer, United States Attorney
